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                                     2215




                      Exhibit 26
              Case 1:18-cv-02192-HG-PK   Document 86-26   Filed 04/04/22   Page 2 of 11 PageID #:
                                                   2216



                    Al-Hayat al-Jadida – February 18, 2002
   Advertisement listing beneficiaries of the Saudi Committee who are invited
                to collect their money at Arab Bank branches




PX0502                                                                                              83
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                        Al-Quds – November 23, 2001
          Advertisement listing beneficiaries of the Saudi Committee
         who are invited to collect their money at Arab Bank branches




PX0465                                                                                              84
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                                                    2218



         HAMAS Advertisement on the Front Page of Al-Hayat al-Jadida
                              August 13, 2001
            Honoring Izz al-Din al-Masri (Sbarro Suicide Bomber)




PX3286                                                                                               85
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                                              2219



     Saudi Committee in Support of the Intifada al Quds
    Payments to the Families of Hamas Operatives via Arab Bank
                            2000 - 2002




Payments to Families of HAMAS Suicide Bombers = 24

Payments to Families of HAMAS Operatives                                                       = 145

Payments to HAMAS Operatives Directly                                                          = 11



                                                                                                       90
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                                                             2220



         Saudi Committee in Support of the Intifada al Quds
                                                 Website:
                                          Prisoner Payment Lists




         162   Jamal Abd al-Rahman            Nablus    Muna Salim Saleh      500/9/7255     Arab      --     Detained    -
               Mansur                                   Mansur                               [Bank]

         163   Jamal16        Jamal Abd
                       Abd al-Salam     al-Rahman
                                      Abu       Jenin   Asma Muhammad         600/2/574269   Arab      --     30 months   -
                       2                    Mansur
               al-Hija                                  Suleiman Saba’ina                    [Bank]




PX0468                                                                                                                        91
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                                                  2221



         Saudi Committee in Support of the Intifada al Quds
                               Website (Second Version):
                                 Martyr Payment Lists
                                         Payments to:
                                                                    Ibrahim Abd al-Karim
                                                                          Bani Awda




                                                                      QASSAM BRIGADES
                                                                  CELL COMMANDER in Nablus


                                                                           Nizar Rayan




                                                                     QASSAM BRIGADES
                                                                 SENIOR COMMANDER in Gaza
PX0573                                                                                             92
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                                                  2222



         Saudi Committee in Support of the Intifada al Quds
                           Martyr Payment Lists
                    Reviewed and Processed by Arab Bank




                                                                                         Ayman Halawah




                                                                                        HAMAS BOMB-MAKER
                                                                                         “THIRD ENGINEER”




PX0306                                                                                                      93
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                                                  2223



         Saudi Committee in Support of the Intifada al Quds
                                   Prisoner Payments
                                  Arab Bank Procedures


                                        “Blessings and respect,

                                        In reference to our letter no. 9000/DML/1214/2001 dated
                                        2.8.2001, regarding the existence of more than one transfer
                                        in favor of the same beneficiary, and in reference to the
                                        transfers mentioned above, we would like to inform you
                                        that the beneficiary came to our branch in Jenin and
                                        delivered the documents, photocopies of which are
                                        attached. These documents prove that she has two
                                        prisoners in Israeli jails. We await your instructions in
                                        this matter.

                                        With the utmost respect,


                                        The Regional Management
                                        [handwritten signature]”

PX0345                                                                                                94
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         Saudi Committee in Support of the Intifada al Quds
                   Documentation Submitted to Arab Bank
                         Proof of Imprisonment




PX0346                                                                                         95
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         Saudi Committee in Support of the Intifada al Quds
                   Documentation Submitted to Arab Bank
                    Photo Identification of Prisoner’s Wife

                                                                   Identity Card              Judea and Samaria Region HQ
                                                               
                                                                   Identity No.:                                  9 5049036 7
                                                                   First Name:           Su'ad
                                                                   Father's Name:        Suleiman
                                                                   Grandfather's Name: Sa'd Saleh
                                                                   Family Name:          Satiti
                                               [Logo of the       Mother's Name:       Aysha
                                               IDF]                Date of Birth:       04/02/1962
                                               [Illegible]         Place of Birth:      Jenin
                                                                   Sex: Female              Religion: Muslim
                                               On: 06/01/82        Registered in: Jenin

                                               The Palestinian Authority                           Attachment to Identity Card
                                                                                                     Identity No.: 9 5049036 7
                                               Family Name: Satiti
                                               First Name: Su'ad
                                               Address:        Jenin Camp
                                               Marital Status: Married             Identity No. of Spouse: 9 7762104 4

                                               Spouse Name: Umar




PX0348                                                                                                                           96
